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                       UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                            BRUNSWICK DIVISION


UNITED STATES OF AMERICA,

                     Plaintiff,
                                                               Case No.: 2:18-CR-36
       vs.

ZANABA MANET,

                     Defendant.


                 MOTION TO WITHDRAW AS COUNSEL
________________________________________________________________________
       COMES NOW, the Defendant, Zanaba Manet, ("Defendant") by and through the

undersigned attorney, Adrienne Browning, and hereby moves this Honorable Court to

allow the undersigned attorney to withdraw as counsel for the Defendant for the reason that

Defendant wishes to fire Counsel and either have another Counsel appointed or be given

adequate time to hire Counsel.

       WHEREFORE, the Defendant moves to allow the undersigned to withdraw as

counsel of record and moves for appointment of new counsel herein.

       RESPECTFULLY SUBMITTED, this 7th day of February 2019.


                                          /s/ Adrienne B. Browning
                                          Adrienne B. Browning
                                          Attorney for the Defendant
                                          Georgia Bar No. 974637
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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 7th day of February, 2018, I served upon all parties a copy

of the foregoing Motion to Withdraw as Counsel in accordance with the notice of

electronic filing (NEF), which was generated as a result of electronic filing in this Court.

                                                  /s/ Adrienne B. Browning

                                           Adrienne B. Browning
                                           Attorney for the Defendant
                                           Georgia Bar No. 974637


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